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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §    CIVIL CAUSE NO. EP-21-CV-173-KC
                                                §
 STATE OF TEXAS AND GREG                        §
 ABBOTT, in his official capacity as            §
 Governor of the State of Texas,                §
                                                §
      Defendants.                               §

                                             ORDER

         On this day, the Court considered the parties Joint Motion for Clarification, ECF No. 24.

Upon due consideration, the Motion is GRANTED in part.

         It is hereby ORDERED that, pursuant to Federal Rule of Civil Procedure 65, the parties

may PRESENT relevant evidence and legal argument at the Preliminary Injunction Hearing.

         IT IS FURTHER ORDERED that, on or before August 11, 2021, at 5:00 p.m.

Mountain Time, the parties shall each FILE with the Court a list of all witnesses expected to be

called, with a brief summary of the testimony of each. As to any expert witness, the parties shall

provide a statement of the area of expertise, attaching a curriculum vitae, if available, and the

opinion to be expressed with a brief summary of the basis for the opinion.

         IT IS FURTHER ORDERED that on or before August 11, 2021, at 5:00 p.m.

Mountain Time, the parties shall each FILE with the Court an Exhibit List of any evidence

expected to be introduced.
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         IT IS FURTHER ORDERED that no witness shall be permitted to testify, and no

exhibit shall be admitted, other than those listed in compliance with this Order absent good cause

shown.


         SO ORDERED.

         SIGNED this 9th day of August, 2021.




                                     KATHLEEN CARDONE
                                     UNITED STATES DISTRICT JUDGE




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